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13
                                UNITED STATES DISTRICT COURT
14
                            NORTHERN DISTRICT OF CALIFORNIA
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                                     SAN FRANCISCO DIVISION
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     DJENEBA SIDIBE, et al.,                      Case No. 3:12-CV-04854-LB
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                       Plaintiffs,
19
            v.                                    [PROPOSED] ORDER GRANTING
20                                                DEFENDANT SUTTER HEALTH’S
     SUTTER HEALTH,                               MOTION TO EXCLUDE EXPERT
21                                                TESTIMONY OF DR. TASNEEM
                       Defendant.                 CHIPTY IN OPPOSITION TO
22                                                SUTTER HEALTH’S MOTION FOR
                                                  SUMMARY JUDGMENT
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                                                                        Case No. 3:12-CV-04854-LB
                                                                  [PROPOSED] ORDER GRANTING
                                                         SUTTER’S MOT. TO EXCLUDE TESTIMONY
        Case 3:12-cv-04854-LB Document 410 Filed 09/10/18 Page 2 of 2



 1          Defendant Sutter Health’s Motion to Exclude the Expert Testimony of Dr. Tasneem

 2   Chipty in Opposition to Sutter Health’s Motion for Summary Judgment came on for hearing on

 3   November 8, 2018, before the Honorable Magistrate Judge Beeler. Based on the supporting and

 4   opposing papers, the record evidence, and all related documents filed with the Court in

 5   connection with this motion, and the papers and records on file in this action, the Court hereby

 6   ORDERS as follows:

 7          1.      Sutter’s Motion is GRANTED.

 8          2.      The testimony of Plaintiffs’ expert Dr. Chipty is hereby excluded.

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10          IT IS SO ORDERED.

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12    Dated:
                                                    Laurel Beeler
13                                                  UNITED STATES MAGISTRATE JUDGE
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                                                                                 Case No. 3:12-CV-04854-LB
                                                                           [PROPOSED] ORDER GRANTING
                                                    -1-           SUTTER’S MOT. TO EXCLUDE TESTIMONY
